Estate of John H. Eckhardt, Deceased, Alice E. Becker, Executrix, Petitioner, v. Commissioner of Internal Revenue, Respondent.  Estate of Kate L. Eckhardt, Deceased, Alice E. Becker, Executrix, Petitioner, v. Commissioner of Internal Revenue, RespondentEckhardt v. CommissionerDocket Nos. 3511, 3512United States Tax Court5 T.C. 673; 1945 U.S. Tax Ct. LEXIS 92; August 31, 1945, Promulgated *92 Decision will be entered under Rule 50.  Issue 1.  Each decedent created a trust at about the same time, naming the other as life beneficiary. Decedents owned certain property jointly. Under each trust each decedent transferred an undivided one-half interest in trust.  Upon the facts, held, that the trusts were reciprocal and were created in consideration of each other, and the corpus of the trust created by each decedent is includible in the other's gross estate under section 811 (c), I. R. C.Issue 2.  A decedent created an irrevocable trust for the benefit of her grandson, who was to receive the income and principal.  Upon his death the principal was to be paid to his issue, or, if none, to his mother, or, if she were dead, to the grantor. Held, following Frances Biddle Trust, 3 T. C. 832, that no amount is includible in decedent's estate as a transfer intended to take effect in possession or enjoyment at or after death under section 811 (c), I. R. C., since decedent's death was not the "intended event" which enlarged the estate of the grantee.  Gilbert J. Pedersen, Esq., for the petitioners.Laurence F. Casey, Esq., for the respondent.  Harron, Judge.  HARRON *673  These consolidated proceedings involve deficiencies in estate tax as follows:PetitionerDocket No.DeficiencyEstate of John H. Eckhardt3511$ 10,233.75Estate of Kate L. Eckhardt351211,804.86*674  The major portion of the deficiency in each proceeding arises from respondent's determination that separate trusts created by the decedents, under which each decedent was given a life estate in the other decedent's trust, were reciprocal and made in consideration of each other.  He has therefore treated each decedent as the real settlor of the trust created by the other decedent, and has determined that the value of the corpus of the trust created for the benefit of the decedent is includible in that decedent's gross estate*94  under sections 811 (c) and (d) of the Internal Revenue Code.An additional issue involving the estate of Kate L. Eckhardt arises from respondent's determination that the value of a reversionary interest of an inter vivos trust created by Kate L. Eckhardt for the benefit of her grandson is includible in her gross estate under section 811 (c) and (d) of the Internal Revenue Code.  The estate of Kate L. Eckhardt claims that there is an overpayment of tax in the amount of $ 439.76.A Federal estate tax return was filed for each estate with the collector for the twenty-eighth district of New York.FINDINGS OF FACT.Kate L. Eckhardt died May 6, 1941, at the age of 70 years, survived by her husband, John H. Eckhardt; her only child, Alice E. Becker; a grandson, Dean Becker, and a great grandson, Dean Becker, Jr.  By the terms of her will, probated in Erie County, New York, her daughter, Alice E. Becker, was named as executrix and sole beneficiary. The Federal estate tax return filed for her estate showed gross assets valued at $ 219,052.73, and claimed deductions of $ 59,838.65.John H. Eckhardt, the surviving husband of Kate L. Eckhardt, died on June 20, 1941, at the age of 72 years. *95  Surviving him were his daughter, Alice E. Becker; his grandson, Dean Becker; and a great grandson, Dean Becker, Jr.  Under his will, probated in Erie County, New York, his daughter, Alice E. Becker, was named as executrix and sole beneficiary. The Federal estate tax return filed for his estate showed gross assets valued at $ 271,844.30 and claimed deductions of $ 61,834.03.Issue 1.  -- The decedents were married in 1888, and lived all of their married life in Buffalo, New York.  Their daughter, Alice E. Becker, was born in 1889 and made her home with her parents.  Her marriage to Otto Becker had terminated in divorce.  The family relationship was normal, and Mrs. Becker often discussed her parents' business problems with them.For many years prior to 1920 the decedents had jointly operated a department store, located at the intersection of Broadway and Fillmore Avenue, Buffalo, New York.  The store was located on two *675  parcels of real estate, hereinafter called parcel 1 and parcel 2.  Parcel 1 was acquired by the decedents jointly in 1895.  Parcel 2 was owned by John H. Eckhardt individually and his wife had no interest therein prior to July 2, 1905.  An adjoining vacant*96  tract, hereinafter called parcel 3, was jointly acquired by the decedents in 1926.  It remained vacant until 1940.  During 1920 the decedents sold their department store business, but continued to own the real estate. They leased the building to the purchasers of the store business and also leased parcel 3.  The decedents also continuously maintained a joint bank account and joint safe deposit box after 1920.  In addition, they each kept various savings and checking accounts.For the years 1930, 1933, 1934, and 1935 the decedents filed separate income tax returns, which were prepared for them by the same person and were sworn to by the decedents on the same day before the same notary public.  The returns of John H. Eckhardt for these years showed net income ranging from $ 18,274 to $ 53,884, and the returns of Kate L. Eckhardt showed net income ranging from $ 2,633 to $ 8,826.  The decedents had always lived substantially within their income.Shortly prior to June 1, 1935, Mrs. Becker had some discussions with her father about creating a trust of his interest in the store property at Broadway and Fillmore Avenue.  Thereafter, and on or about June 1, 1935, she went to an attorney *97  who specialized in drafting trust agreements.  As a result of this visit, the attorney went to see John H. Eckhardt at Eckhardt's summer home and discussed a trust.  He then prepared a draft of a proposed trust which he gave to Mrs. Becker on June 11, 1935.  Thereupon, Mrs. Becker showed the draft to her father, who made several suggestions and changes, among them a correction in respect to the title to the real estate known as parcel 2.  The attorney had prepared the draft thinking that each of the decedents had a one-half interest in the three parcels. The attorney then advised Mrs. Becker that her father should convey a one-half interest in parcel 2 to Mrs. Eckhardt.At some time prior to June 16 or June 17, 1935, Mrs. Becker called the attorney on the telephone and told him that her mother wanted to make a trust of her interest in the Broadway-Fillmore Avenue property.  Thereafter, and on either June 16 or June 17, 1935, Mrs. Eckhardt came to the attorney's office, accompanied by Mrs. Becker, and discussed a proposed trust.  She told the attorney that she wished to give a life estate to her husband and then to her daughter and her grandson. The attorney then made and completed*98  a draft of such trust on June 20, 1935.  On the same day he made a final draft of the John H. Eckhardt trust.On July 2, 1935, both decedents and Alice E. Becker executed and *676  acknowledged before the attorney, the following series of deeds, which were recorded on the respective dates hereinafter set forth:John and Kate Eckhardt to Alice E. Becker, covering all of parcel No. 1, recorded July 3, 1935, at 3:54 p. m.Alice E. Becker to John and Kate Eckhardt, covering all of parcel No. 1, recorded July 3, 1935 at 3:55 p. m.John and Kate Eckhardt to Alice E. Becker, covering parcel No. 3, recorded July 3, 1935, at 3:56 p. m.Alice E. Becker to John and Kate Eckhardt, covering parcel No. 3, recorded July 3, 1935, at 3:57 p. m.John H. Eckhardt to Kate L. Eckhardt, conveying an undivided one-half interest in parcel No. 2, recorded July 3, 1935, at 3:58 p. m., internal revenue documentary stamps in the amount of $ 15 being attached to the deed.John H. Eckhardt to Kate L. Eckhardt, Alice E. Becker, and Gertrude Siffringer, as trustees of a trust created by John H. Eckhardt for the benefit of Kate L. Eckhardt, et al., under a trust agreement dated July 2, conveying an undivided *99  one-half interest in parcels Nos. 1, 2, and 3, recorded July 3, 1935, at 4:02 p. m.Kate L. Eckhardt to Kate L. Eckhardt, Alice E. Becker, and Gertrude Siffringer, as trustees of the trust created by John H. Eckhardt for the benefit of Kate L. Eckhardt, et al., under trust agreement dated July 2, 1935, conveying "all her dower interest in the undivided one-half interest in certain lands conveyed by John H. Eckhardt under deed dated July 2, 1935, to Kate L. Eckhardt, Alice E. Becker, and Gertrude Siffringer as trustees of the trust created by John H. Eckhardt for the benefit of Kate L. Eckhardt, et al., under trust agreement dated July 2, 1935," which was followed by a description of parcel No. 2, recorded July 3, 1935 at 4:03 p. m.On July 2, 1935, John H. Eckhardt executed and acknowledged a trust agreement conveying his undivided one-half interest in parcels 1, 2, and 3 to Kate L. Eckhardt, Alice E. Becker, and Gertrude Siffringer as trustees; under the provisions of the trust the trustees were to pay the income to Kate L. Eckhardt for life and upon her death to Alice E. Becker for life, and upon the death of Alice E. Becker the principal was to be paid to any persons appointed by*100  the will of Alice E. Becker, or, in default thereof, then to Dean Becker, and, if he be not living, then to his issue equally, and, in default of such issue, to the heirs at law of Kate L. Eckhardt.  In the event Alice E. Becker predeceased Kate L. Eckhardt, then on the death of Kate L. Eckhardt the income was payable to Dean Becker and the principal was payable to him upon his reaching the age of 35 years.  In the event Dean Becker predeceased Kate L. Eckhardt the principal was payable to the appointees under the will of Kate L. Eckhardt, and, in default thereof, to the issue of Dean Becker, and, if there be no issue, then to the heirs at law of Kate L. Eckhardt.  In the event Dean Becker died prior to the expiration of his trust the principal was payable to the appointees under his will, and, in default of appointment, to his issue equally, and, in default of issue, to the heirs at law of Kate L. Eckhardt.*677  On July 2, 1935, Kate L. Eckhardt executed and acknowledged, as trustee, an acceptance of the John H. Eckhardt trust, and on July 3, 1935, Gertrude Siffringer, a cousin of Mrs. Becker, did likewise.On July 8, 1935, Kate L. Eckhardt executed a deed to herself, Alice *101  E. Becker, and Gertrude Siffringer, "as Trustees of the trust created by Kate L. Eckhardt for the benefit of John H. Eckhardt, et al., under Trust Agreement dated July 8th, 1935," conveying her undivided one-half interest in parcels 1, 2, and 3.  On the same day, Kate L. Eckhardt executed and acknowledged a trust agreement naming herself, Alice E. Becker, and Gertrude Siffringer as trustees.  The corpus of the trust consisted of her one-half interest in parcels 1, 2, and 3.  By the terms of the trust the trustees were to pay the trust income to John H. Eckhardt for life, and, upon his death, to Alice E. Becker for life, and, upon her death, the principal was to be paid to the appointees under her will, and, in default of said appointment, to Dean Becker, if alive, and, if he were then not living, to his issue equally, and, in default of issue, to the heirs at law of Alice E. Becker, excluding, however, Otto Becker, her former husband, and the grantor. In the event Alice E. Becker predeceased John H. Eckhardt the income was payable to Dean Becker, and the principal was payable to him upon his reaching the age of 35 years.  In the event Dean Becker predeceased John H. Eckhardt the principal*102  was payable to the appointees under John H. Eckhardt's will, and, in default of appointment, was payable to the heirs at law of Alice E. Becker, excluding Otto Becker and the grantor. If Dean Becker survived John H. Eckhardt, but died prior to the expiration of the trust, the principal was payable to the appointees under his will, and, in default of appointment, to his issue equally, and, in default thereof, to the heirs at law of Alice E. Becker, excluding Otto Becker and the grantor. On July 8, 1935, the trustees acknowledged their acceptance of the foregoing trust.The interest of each decedent in the real estate which was conveyed in trust as hereinbefore set forth was valued at approximately $ 60,000.Article second of the John H. Eckhardt trust and article second of the Kate L. Eckhardt trust authorized the allocation by the respective trustees of such sums of principal as would be necessary for the comfortable maintenance and support of, in the former trust, the beneficiaries, Kate L. Eckhardt and Alice E. Becker, and, in the latter trust, the beneficiaries, John H. Eckhardt and Alice E. Becker, and, in each trust, for the comfortable maintenance, support, and education of*103  Dean Everett Becker.  Article third of each trust describes the powers and discretion of the respective trustees in identical language.  Article fourth of each trust describes additional discretionary powers of the respective trustees in identical language.  Article fifth *678  of each trust provided in identical language for additions to the trust, spendthrift clauses and that the trusts should be irrevocable, for trustee's commissions, and for other powers of and succession to the trusteeship.  In all respects except as to parties and beneficiaries and as hereinbefore described, the trust instruments are identical.The attorney who drew the trust instruments did not discuss John H. Eckhardt's trust with Kate L. Eckhardt nor did he discuss Kate L. Eckhardt's trust with John H. Eckhardt.  The attorney had discussed the tax consequences of the transactions with Mrs. Becker and had advised her not to inform either of her parents of the other parent's contemplated trust.  However, from June 20 to July 2, 1935, Kate L. Eckhardt knew of the intended creation of the John H. Eckhardt trust and knew of the intended subject matter thereof.  On July 2, 1935, Kate L. Eckhardt executed a *104  deed to the trustees of the John H. Eckhardt trust which recited that the trust was "for the benefit of Kate L. Eckhardt, et al." Neither Mrs. Becker nor the attorney ever instructed either of the decedents not to discuss the intended creation of their trusts with each other.  The trusts which the decedents executed were irrevocable, and at the time of their execution each decedent was worth approximately $ 100,000, not including the real estate interests so conveyed in trust.Shortly after July 1935 the trustees leased the real estate hereinabove described to the decedents jointly for a term of 20 years and thereafter the decedents jointly operated the property.  In 1940 they constructed a new department store building on this real estate and subleased the premises to a newly formed corporation, John H. Eckhardt, Inc.  Each decedent was an officer, director, and stockholder therein.  The decedents financed the construction of the building in part by borrowing $ 100,000 from the Liberty Bank of Buffalo, New York, giving their joint note in that amount as security.  The decedents were jointly actively engaged in operating the department store until their deaths.Gertrude Siffringer, *105  named as a trustee of each trust, was a relative and served as trustee without compensation.  She was named trustee in each instance to avoid the possibility of a merger of the separate estates of Alice E. Becker under the trusts.Prior to the execution of his trust in his wife's favor, John H. Eckhardt knew of his wife's intention to create a trust in his favor.  Prior to the execution of her trust in her husband's favor, Kate L. Eckhardt knew of her husband's intention to create a trust in her favor.The trust created by John H. Eckhardt on July 2, 1935, was executed in consideration of the trust created by Kate L. Eckhardt on July 8, 1935.  The trust created by Kate L. Eckhardt on July 8, 1935, was *679  executed in consideration of the trust created by John H. Eckhardt on July 2, 1935.Issue 2.  -- On April 6, 1935, Kate L. Eckhardt conveyed cash and securities having a total value of $ 25,468.55 to herself and her daughter, Alice E. Becker, as trustees, in trust for the benefit of her grandson, Dean Becker.  The trust was irrevocable and provided that Dean was to receive the income, and, commencing at the age of 30 years, was to receive 10 percent of the principal every*106  two years until, at the age of 40, he was to receive the entire amount of principal.  The trustees were also authorized to withdraw "such sum or sums from the principal of the trust as in their sole discretion they may deem necessary to provide for the comfortable support, maintenance and education of the said beneficiary, Dean Everett Becker, or in their discretion apply to his use and benefit said sum or sums for the purposes aforesaid." It was further provided that, if Dean Becker died before reaching the age of 40 years, the principal was to be paid to his surviving issue, or, if no issue were surviving, then to his mother, Alice E. Becker, or, if she were dead, then to his grandmother, the settlor, if she were alive.  If the settlor were dead, the principal was to go to such persons as she might appoint in her last will, and, in default of appointment, then to the heirs at law and distributees of the settlor.John H. Eckhardt was also a grantor of the trust and conveyed to the trustees cash and securities having a value of $ 51,037.74.  On the date of the creation of the trust Alice E. Becker was 45 years of age, having been born July 9, 1889, and Dean Becker was 18 years of *107  age, having been born April 25, 1916.  At the date of the hearing, two children had been born to Dean Becker; namely, Dean E. Becker, Jr., born June 23, 1940, and John Eckhardt Becker, born December 8, 1941.The trust created by Kate L. Eckhardt on April 6, 1935, was not a transfer intended to take effect in possession or enjoyment at or after her death.OPINION.Issue 1.  -- The first issue presents a question of fact; namely, whether the trusts executed by John and Kate Eckhardt on July 2 and July 8, 1935, respectively, were created independently of each other, as petitioners contend, or whether they were reciprocal and made in consideration of each other, as respondent contends.  The respondent has determined that the trusts were cross-trusts, created and executed under a common plan between husband and wife, and that, in effect, the grantors exchanged their undivided one-half interests in the property so that each was the real settlor of the trust nominally created by the other.  Since each grantor was given a life estate under the trust created by the other grantor, respondent has *680  included the corpus of each trust in the respective decedent's estate as a transfer*108  intended to take effect at death under section 811 (c) of the Internal Revenue Code.  1 Respondent relies upon Lehman v. Commissioner, 109 Fed. (2d) 99; Estate of Frederick S. Fish, 45 B. T. A. 120; and a memorandum opinion of this Court, affirmed in Hanauer v. Commissioner, 149 Fed. (2d) 857, C. C. A., 2d Cir.  Petitioners contend that the facts of the case bring it within our holding in Estate of Samuel S. Lindsay, 2 T. C. 174, and assert that each settlor did not know of the other settlor's action in the creation of the trusts, so that there could be no agreement or concert of action between them.  In this connection, they stress the fact that the trusts were not simultaneously executed.*109  In determining the question presented, all the facts and circumstances attendant upon the creation and execution of the trusts must be carefully scrutinized, for the transactions had their genesis within the intimate family circle.  The respondent's determination that there was a concert of action or at least a tacit agreement between the husband and wife is presumptively correct, and the burden of proving the error of such determination is upon the petitioners.  In this type of situation, where the subject matter of each trust is the same, where the beneficial interests are the same, and where the trusts have been executed within such a short time of each other, the discharge of the burden is difficult, and this is especially so where both grantors are deceased.We have carefully examined and considered all the oral and documentary evidence adduced at the hearing.  From such examination and consideration, we can not find that the trusts were created independently of each other.  Rather, the reasonable inferences to be drawn from much of the testimony is that each grantor knew of the other grantor's contemplated trust and that the trusts were made in consideration of each other.It*110  should be noted at the outset that both of the decedents during their entire married life were unusually intimate in their financial and *681  business affairs.  They habitually consulted with each other in connection with personal and business matters.  For many years prior to 1920 they had jointly operated a department store in Buffalo, New York.  Subsequent to the execution of the trusts which are involved in this proceeding, they again formed a business enterprise to jointly operate a department store. They had for many years maintained a joint bank account and a joint safe deposit box.  The subject matter of the two trusts was also jointly owned real estate. It would seem a paradox that, having jointly managed their personal and business affairs over the entire course of their married life, in their advanced years they would each conceive a plan to create a trust independently of the other, especially since the provisions of each trust were so similar and they were created and executed almost simultaneously.  The two trust instruments, which contained many provisions, were substantially identical.  Under each trust the spouse and the daughter, Alice E. Becker, received *111  successive life estates, with the principal to be paid upon the death of Alice E. Becker to the appointees under her will.  To hold that, under these circumstances, the trusts were independently created would be to disregard the realities of life.The petitioners admit that from June 20 to July 2, 1935, Kate L. Eckhardt knew of the intended creation of the John H. Eckhardt trust and knew of the subject matter thereof.  Apparently, she also knew that she was a beneficiary under the trust, for on July 2, 1935, she signed her husband's trust indenture as trustee and also on the same date executed a deed to the trustees of the John H. Eckhardt trust which contained a recital that the trust was for her benefit.  It is also significant that the attorney who drew both trusts completed a draft of Kate's trust on June 20, 1935, and on the same date completed the final draft of John H. Eckhardt's trust.  The petitioners also admit that neither John Eckhardt nor Kate Eckhardt had been instructed not to discuss the creation of their respective trusts with each other.  In view of this and their joint actions during their marital life, it is unreasonable to assume that such discussions did not take*112  place.  It is also important to note that on July 2, 1935, both decedents executed a series of deeds in connection with the property which was placed in trust, all of which was preparatory to the placing of the property in such condition that both trusts could be created.The chief witness in behalf of the petitioners was decedents' daughter, Mrs. Becker.  She was the sole legatee under the will of each of the decedents and obviously was a biased witness.  Her testimony was not impressive.  She was adamant in stating that neither of the decedents knew of the intended execution of the other decedent's trust, but when asked to give an explanation of such testimony she was unable to do so except to state that she knew that fact to be true.  She *682  insisted on these assertions, although she admitted that the decedents had not been instructed to withhold the information about the creation of the respective trusts from each other and that she was not always in their presence.The record also contains testimony that the reason for the execution of the trusts was that each of the decedents wished to be relieved of the burden of the management of the real estate and of the annoyance*113  in dealing with tenants.  Yet within a short time after the execution of the trusts the decedents leased the property from the trustees for a term of twenty years.  Thereafter, they erected a building, formed a new corporation to hold the lease, and subleased the property.  Each of the decedents was an officer, stockholder, and director in this corporation, and each took an active part in the management of the property.  In view of the conduct of the decedents subsequent to the creation of the trusts, it seems apparent that the reason for the creation of the trusts could not have been a desire to relieve the decedents from the management of the property.It is therefore concluded that John H. Eckhardt and Kate L. Eckhardt did not create their respective trusts independently of each other and without any prior concert of action or understanding.  From the evidence, we are satisfied that these trusts were executed under such circumstances as would justify the respondent in determining that they were reciprocal and executed in consideration of one another.  The evidence submitted in behalf of the petitioners was not sufficient to rebut the presumption of the correctness of that determination. *114  It is therefore held that the undivided one-half interest of each decedent in the real property was, in effect, exchanged by them, and that for estate tax purposes each decedent should be regarded as the real settlor of the trust nominally created by the other.  Since each decedent retained a life estate in the trust created by him, the value of the corpus of such trust is includible in his gross estate under section 811 (c) of the Internal Revenue Code.Issue 2.  -- This issue arises from respondent's determination that the value of a reversionary interest in the trust created by Kate L. Eckhardt on April 6, 1935, for the benefit of her grandson, Dean Becker, is includible in her gross estate as a transfer intended to take effect in possession or enjoyment at or after her death.  This determination was based upon the fact that the corpus of the trust might revert to Kate L. Eckhardt if she survived Dean and his issue and Dean's mother, Alice E. Becker.  In support of his determination, respondent relies upon Fidelity-Philadelphia Trust Co. v. Rothensies, 324 U.S. 108"&gt;324 U.S. 108; Commissioner v. Field, 324 U.S. 113"&gt;324 U.S. 113; and*115 Helvering v. Hallock, 309 U.S. 106"&gt;309 U.S. 106. Petitioners, on the other hand, rely upon our holding in Frances Biddle Trust, 3 T. C. 832, and similar cases.*683  Under the trust indenture, the trust income was payable to Dean during the period of the trust, and, in the discretion of the trustees, a part of the principal could be used for his benefit.  It was also provided that he was to receive 10 percent of the principal upon his attaining the age of 30 years, and an additional 10 percent every two years thereafter, until at the age of 40, he was to receive the entire balance of the principal.  If he died before attaining the age of 40, the principal was to go to his surviving issue, and, in the event that he died prior to that time without issue, his mother, Alice E. Becker, was to receive the principal.  If Alice died without issue and was survived by Kate L. Eckhardt, then the principal was to go to Kate or to such persons as she might appoint by will, and, in default of such appointment, to Kate's heirs.In the Frances Biddle Trust case, supra, we held that, while the decedent's death ended a remote possibility*116  of reverter, it did not enlarge or augment the estate of the remaindermen, and thus was not "the intended event which brought the larger estate into being for the grantee * * *." In Estate of Harris Fahnestock, 4 T. C. 1096 (Apr. 3, 1945), and Estate of Mary B. Hunnewell, 4 T. C. 1128 (Apr. 16, 1945), we reaffirmed the rationale of the Frances Biddle Trust case and distinguished the Fidelity-Philadelphia Trust case, supra.  Our holding in those cases is controlling here.It is clear that decedent intended to make a complete gift for the benefit of her grandson. The principal was payable to him in gradual installments until at the age of 40 years he was to receive the entire amount.  The decedent's death could not, therefore, enlarge his estate or affect his interests.  In the Hallock case and the Fidelity-Philadelphia Trust Co. case, the settlors had retained such control over the trust estate that their deaths were the determinative factors in determining which beneficiaries took under the trusts and the extent of their interests.  Here, no interest in the trust estate passed or was created by virtue*117  of the death of Kate L. Eckhardt.  The remote possibility of her reacquiring the corpus, in the event she survived the named beneficiaries, does not require the conclusion that she intended the trust to take effect at her death.  On the contrary, we think she intended that the interests created by the trust were to vest immediately.  In our opinion, the trust instrument here is more akin to the trust instruments which were construed in the Biddle case and the Fahnestock case than to the survivorship trusts which were construed by the Supreme Court in the Hallock case and the Fidelity-Philadelphia Trust Co. case.  Therefore, on the authority of the Biddle case and the Fahnestock case, petitioners are sustained on this issue.Accordingly,Decision will be entered under Rule 50.  Footnotes1. SEC. 811. GROSS ESTATE.The value of the gross estate of the decedent shall be determined by including the value at the time of his death of all property, real or personal, tangible or intangible, wherever situated, except real property situated outside of the United States --* * * *(c) Transfers in Contemplation of, or Taking Effect at Death.  -- To the extent of any interest therein of which the decedent has at any time made a transfer, by trust or otherwise, in contemplation of or intended to take effect in possession or enjoyment at or after his death, or of which he has at any time made a transfer, by trust or otherwise, under which he has retained for his life or for any period not ascertainable without reference to his death or for any period which does not in fact end before his death (1) the possession or enjoyment of, or the right to the income from, the property, or (2) the right, either alone or in conjunction with any person, to designate the persons who shall possess or enjoy the property or the income therefrom; except in case of a bona fide sale for an adequate and full consideration in money or money's worth. * * *↩